Case:18-03934-MCF13 Doc#:64 Filed:07/01/20 Entered:07/01/20 10:16:59   Desc: Main
                           Document Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF PUERTO RICO

IN RE:                                       CASE NO. 18-03934-MCF
EDUARDO LORENZO BERRIOS MARCANO
                                             CHAPTER 13

                         DEBTOR(S)


                  TRUSTEE'S REPORT REGARDING UNCLAIMED MONEY


TO THE HONORABLE COURT:

     NOW COMES Jose R. Carrion, Chapter 13 Trustee, and very respectfully
alleges and prays:

1.   The Trustee has in his possession funds destined for a creditor as
detailed below:

EDUARDO LORENZO BERRIOS MARCANO
CONDADO MODERNO
L16 CALLE 14
CAGUAS, PR 00725

2.   The Trustee holds the mentioned funds since creditor(s) failed to
claim them and/or provide accurate address, and therefore, the check(s)
have been returned by the US Postal Office.


     WHEREFORE, for the reason stated, it is respectfully requested
from the Court to note the above and allow the deposit of these
funds with the Clerk of the Court, by check number #0810333 for the
amount of $9,574.24.

30 DAY NOTICE AND CERTIFICATE OF SERVICE: Pursuant to BR 3007 the
Chapter 13 Trustee certifies that a copy of this motion has been served by
regular US Mail on this same date to: the Debtor(s), his/her/their
attorney the objected claimant and its counsel of record (if any) and are
hereby notified that unless an opposition to this motion is submitted in
writing within 30 days from the date appearing in the certificate of
service,infra, the Court may grant this motion without the need of an
actual hearing. (See attached Verified Statement)


DATE: July 01, 2020                                /s/ José R. Carrión
                                                   José R. Carrión, Trustee
                                                   PO Box 9023884, Old San Juan
                                                   San Juan, PR 00902-3884
                                                   Tel. (787) 977-3535


                                     Page 1 of 2
 Case:18-03934-MCF13 Doc#:64 Filed:07/01/20 Entered:07/01/20 10:16:59 Desc: Main
                            Document Page 2 of 2
                                                   18-03934-MCF
                                                   EDUARDO LORENZO BERRIOS
MARCANO


                            VERIFIED STATEMENT


    The undersigned hereby certifies that a true copy of the foregoing
document was served on the parties listed below by ordinary U.S. Mail or
served electronically through the Court's ECF System at the e-mail address
registered with the Court.
  ALMEIDA & DAVILA PSC*                      EDUARDO LORENZO BERRIOS MARCANO
  PO BOX 191757                              CONDADO MODERNO
  SAN JUAN, PR 00919-1757                    L16 CALLE 14
                                             CAGUAS, PR 00725
  EDUARDO LORENZO BERRIOS MARCANO
  CONDADO MODERNO
  L16 CALLE 14
  CAGUAS, PR 00725


     In San Juan, Puerto Rico this Wednesday, July 1, 2020.



                                                    ___________________________
                                                    Chapter 13 Clerk




                                    Page 2 of 2
